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                         UNITED STATES OF AMERICA
                      MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

             v.                                CRIMINAL NO. 3:23-CR-26-01

SHANE BURNS

                           Defendant

                           MOTION TO WITHDRAW PLEA

       NOW, this Z D     day of   ~                    , 2024, SHANE BURNS, Defendant

in the above-captioned matter, after consultation and assistance of his counsel,

hereby moves the Court to withdraw his previously entered plea of not guilty and to

enter a plea of guilty to Count 1 of the Indictment.



                                                   ~~
                                               SHANE BURNS

                                      ORDER

      NOW, this ~ ~ day of ~                            , 2024, the Defendant's Motion To

Withdraw his previously entered Plea of Not Guilty to the Indictment is granted.




                                                                           N
                                                Unite            District Court

                                        PLEA

      NOW, this    Zo day of      ~ 2024, SHANE BURNS, Defendant
in the above-captioned matter, hereby withdraws his previously entered plea of not

guilty and pleads guilty to Count 1 of the Indictment.



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                                               SHANE BURNS
